Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 1 of 7
Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 2 of 7
Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 3 of 7
Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 4 of 7
Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 5 of 7
Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 6 of 7
Case 3:07-cr-00057-MCR-EMT   Document 245   Filed 10/23/07   Page 7 of 7
